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                                              GlassRatner Advisory Capital Group, LLC
                                                           Detail of Fees
                                                  SEC v. Zhunrize Inc and Jeff Pan
                                              December 19, 2014 through March 31, 2015
          Professional       Date                                       Description                                  Hours         Amount

Asset Analysis & Recovery
      Michael Fuqua, CIRA   12/22/14   Call w/ GThrasher & JPan                                                         0.40   $       130.00
      Michael Fuqua, CIRA   12/30/14   Call to Grady Thrasher re: disclosure                                            0.20   $        65.00
      Michael Fuqua, CIRA   01/09/15   Review Pan disclosure                                                            0.70   $       227.50
      Michael Fuqua, CIRA   01/13/15   Email correspondence w/JPan and counsel re: funds                                0.40   $       130.00
      Michael Fuqua, CIRA   01/14/15   Call w/GThraser & JOdom re:disclosure                                            0.80   $       260.00
      Michael Fuqua, CIRA   01/14/15   Follow up call w/JOdom                                                           0.80   $       260.00
      Michael Fuqua, CIRA   01/15/15   Deliver and deposit $18MM BOA return of funds check                              0.50   $       162.50
      Michael Fuqua, CIRA   01/16/15   Call w/East West bank re: return of funds                                        0.30   $        97.50
      Michael Fuqua, CIRA   01/23/15   Communications w/ HG Thrasher                                                    0.60   $       195.00
      Michael Fuqua, CIRA   01/28/15   Prepare data and correspondence to counsel re: funds held abroad                 0.20   $        65.00
      Michael Fuqua, CIRA   01/28/15   Call w/ counsel re: recovering overseas funds                                    0.40   $       130.00
      Michael Fuqua, CIRA   01/29/15   Set up wire transfer capabilities for Receivership account                       0.70   $       227.50
      Michael Fuqua, CIRA   02/19/15   Email to JPan re: further disclosure                                             0.30   $        97.50
      Michael Fuqua, CIRA   02/20/15   Correspondence w/RE appraiser                                                    0.20   $        65.00
      Michael Fuqua, CIRA   02/20/15   Email JPan re: home and car                                                      0.50   $       162.50
      Michael Fuqua, CIRA   03/04/15   Set up appraiser for house                                                       0.40   $       130.00
      Michael Fuqua, CIRA   03/16/15   Status call w/appraiser for JPan's house                                         0.40   $       130.00
                                                               Total Asset Analysis & Recovery                          7.80   $     2,535.00

Business Analysis
      Michael Fuqua, CIRA   12/23/14   Calls and emails to TSpencer, KPerry, D Wax                                      0.70   $       227.50
      Michael Fuqua, CIRA   12/24/14   Call and email w/D Ferris re: accounting and server                              0.40   $       130.00
      Michael Fuqua, CIRA   12/24/14   Meet w/T Spencer on site                                                         0.80   $       260.00
      Michael Fuqua, CIRA   12/29/14   Onsite reviewing and boxing up documents                                         3.00   $       975.00
      Michael Fuqua, CIRA   12/30/14   Call w/ Marc Brachman re: operations and e-commerce                              0.30   $        97.50
      Michael Fuqua, CIRA   12/30/14   Call w/DWax re: activities at Zhunrize                                           0.60   $       195.00
      Michael Fuqua, CIRA   12/30/14   Research contact information for D Wax - Zhunrize accountant                     1.10   $       357.50
      Michael Fuqua, CIRA   12/31/14   Onsite reviewing and boxing up documents                                         6.80   $     2,210.00
      Michael Fuqua, CIRA   01/02/15   On-site document review and boxing up of documents found on premises             8.00   $     2,600.00
      Michael Fuqua, CIRA   01/05/15   Prepare and send email correspondence to JPan                                    0.20   $        65.00
      Michael Fuqua, CIRA   01/05/15   Onsite document review w/JOdom                                                   1.50   $       487.50
      Michael Fuqua, CIRA   01/06/15   Call w/office space landlord re: obtaining a copy of the lease                   0.30   $        97.50
      Michael Fuqua, CIRA   01/08/15   Call w/Detrick Childers - Zhunrize HR                                            0.50   $       162.50
      Michael Fuqua, CIRA   01/08/15   Call w/Carter Adams                                                              0.50   $       162.50
      Michael Fuqua, CIRA   01/08/15   Prep for meeting w/DFarris-IT contractor                                         0.60   $       195.00
      Michael Fuqua, CIRA   01/08/15   Post Farris meeting debrief w/JOdom and LC                                       0.70   $       227.50
      Michael Fuqua, CIRA   01/08/15   Meeting w/DFarris                                                                0.80   $       260.00
      Michael Fuqua, CIRA   01/09/15   Call w/KMacDonald - Zhunrize operations mgr                                      0.50   $       162.50
      Michael Fuqua, CIRA   01/09/15   Call w/KMacdonald re: 2 customers                                                0.50   $       162.50
      Michael Fuqua, CIRA   01/13/15   Correspondence w/Counsel re: Vodaware contract                                   0.70   $       227.50
      Michael Fuqua, CIRA   01/14/15   Call w/ Rackspace re: acquiring Zhunrize data                                    0.30   $        97.50
      Michael Fuqua, CIRA   01/16/15   Prepare and send emails to: SPan and TSpencer requesting meeting                 0.30   $        97.50
      Michael Fuqua, CIRA   01/19/15   Meeting with Todd Spencer and JOdom                                              1.50   $       487.50
      Michael Fuqua, CIRA   01/19/15   Post Spencer meeting review of QuickBooks data with JOdom                        1.60   $       520.00
      Michael Fuqua, CIRA   01/20/15   Review response to CAllen re: Vodaware                                           0.30   $        97.50
      Michael Fuqua, CIRA   01/20/15   Research DOBA website                                                            0.40   $       130.00
      Michael Fuqua, CIRA   01/20/15   Prepare data request for WBerger                                                 0.70   $       227.50
      Michael Fuqua, CIRA   01/25/15   Continue Zhunrize document review                                                1.20   $       390.00
      Michael Fuqua, CIRA   01/28/15   Communication w/counsel re: contractor interviews                                0.40   $       130.00
      Michael Fuqua, CIRA   02/13/15   Prepare corresondence and send information request to KPerry                     0.30   $        97.50
      Michael Fuqua, CIRA   02/13/15   Meeting w/Counsel and DWax; subsequent meeting w/Counsel and LC regarding        2.20   $       715.00
                                       same
      Michael Fuqua, CIRA   02/18/15   Research payments made to vendor CG services                                     0.40   $       130.00
      Michael Fuqua, CIRA   03/02/15   Meet w/KPerry re: data request                                                   2.00   $       650.00
      Michael Fuqua, CIRA   03/09/15   Visit office to confirm status of contents                                       0.50   $       162.50
      Michael Fuqua, CIRA   03/20/15   Call w/KPerry re: Braintree data                                                 0.20   $        65.00
      Michael Fuqua, CIRA   03/26/15   Review files from KPerry                                                         0.60   $       195.00
      Michael Fuqua, CIRA   03/26/15   Call w/KPerry re: data files; subsequent meeting w/LClemente regarding same      0.70   $       227.50

                                                                    Business Analysis                                  42.10   $    13,682.50

Case Administration
      Michael Fuqua, CIRA   12/24/14   Misc emails to JOdom                                                             0.20   $        65.00
      Michael Fuqua, CIRA   12/29/14   Meet w/LC re: set up Receivership bank account                                   0.40   $       130.00
      Michael Fuqua, CIRA   12/29/14   Meet WF banker re: Receivership account set up                                   0.50   $       162.50
      Michael Fuqua, CIRA   01/05/15   Call w/ MMashburn, SEC                                                           0.20   $        65.00
      Michael Fuqua, CIRA   01/06/15   Email and call to counsel                                                        0.20   $        65.00
      Michael Fuqua, CIRA   01/06/15   Correspondence w/CAllen re: Vodaplex meeting                                     0.20   $        65.00
      Michael Fuqua, CIRA   01/06/15   Call w/vendor re: website proposal                                               0.40   $       130.00

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      Michael Fuqua, CIRA   01/07/15   Cursory review of Vodaplex/Zhunrize agreement                                     0.50   $       162.50
      Michael Fuqua, CIRA   01/08/15   Prepare for meeting w/Zhunrize investors                                          0.40   $       130.00
      Michael Fuqua, CIRA   01/08/15   Calls and emails with potential website vendors                                   0.70   $       227.50
      Michael Fuqua, CIRA   01/08/15   Meet w/Zhunrize investors                                                         1.00   $       325.00
      Michael Fuqua, CIRA   01/12/15   Call w/ BMC                                                                       0.40   $       130.00
      Michael Fuqua, CIRA   01/12/15   Vendor Calls re: Claim processing capabilities                                    0.60   $       195.00
      Michael Fuqua, CIRA   01/12/15   Review CAdams email re: Racksace invoices and Vodaware/Zhunirze contract for      0.80   $       260.00
                                       performance language
      Michael Fuqua, CIRA   01/13/15   Prepare and send email correspondence to counsel re: victim records               0.60   $       195.00
      Michael Fuqua, CIRA   01/14/15   Email correspondence to JOdom re: website                                         0.30   $        97.50
      Michael Fuqua, CIRA   01/14/15   Call w/BMC re: website specs                                                      0.40   $       130.00
      Michael Fuqua, CIRA   01/16/15   Work w/BMC re:website and claims process proposal                                 0.60   $       195.00
      Michael Fuqua, CIRA   01/16/15   Prepare mail forwarding information at post office                                0.70   $       227.50
      Michael Fuqua, CIRA   01/21/15   Review and comment on motion to employ BMC                                        0.30   $        97.50
      Michael Fuqua, CIRA   01/21/15   Emails and calls w/ counsel re:misc case issues                                   0.50   $       162.50
      Michael Fuqua, CIRA   01/21/15   Prepare estimated cost of BMC's services                                          0.50   $       162.50
      Michael Fuqua, CIRA   01/22/15   Email to JOdom re: possible claim offsets                                         0.30   $        97.50
      Michael Fuqua, CIRA   01/22/15   Preparation of website information                                                1.50   $       487.50
      Michael Fuqua, CIRA   01/23/15   Communications w/counsel re: vendor agreement                                     0.60   $       195.00
      Michael Fuqua, CIRA   01/23/15   Continue work on website text                                                     2.50   $       812.50
      Michael Fuqua, CIRA   01/27/15   Communication w/BMC re: website                                                   0.20   $        65.00
      Michael Fuqua, CIRA   01/27/15   Misc communications w/ JOdom, CAllen, GThrasher                                   0.40   $       130.00
      Michael Fuqua, CIRA   01/27/15   Finalize website text                                                             0.60   $       195.00
      Michael Fuqua, CIRA   01/28/15   Analyze investor complaint w/recovered data                                       0.30   $        97.50
      Michael Fuqua, CIRA   01/29/15   Call w/Zhunrize investor                                                          0.30   $        97.50
      Michael Fuqua, CIRA   01/29/15   Communications w/counsel re: disclosures                                          0.70   $       227.50
      Michael Fuqua, CIRA   01/29/15   Update website information                                                        0.80   $       260.00
      Michael Fuqua, CIRA   01/30/15   Call w/contractor re: payment                                                     0.10   $        32.50
      Michael Fuqua, CIRA   01/30/15   Call w/Investor                                                                   0.20   $        65.00
      Michael Fuqua, CIRA   01/30/15   Correspondence w/BMC re: website                                                  0.30   $        97.50
      Michael Fuqua, CIRA   01/30/15   Communication w/counsel re: investor email blast and website                      0.40   $       130.00
      Michael Fuqua, CIRA   02/02/15   Call w/counsel re: vendor and contractor matters                                  0.30   $        97.50
      Michael Fuqua, CIRA   02/02/15   Analysis of vendor contract for termination language and events                   0.50   $       162.50
      Michael Fuqua, CIRA   02/02/15   Meeting w/LC re:status update                                                     0.50   $       162.50
      Michael Fuqua, CIRA   02/02/15   Begin work on claims form                                                         0.80   $       260.00
      Michael Fuqua, CIRA   02/03/15   Comment on proposed vendor motion                                                 0.50   $       162.50
      Michael Fuqua, CIRA   02/03/15   Communications w/BMC re: claims form preparation                                  0.60   $       195.00
      Michael Fuqua, CIRA   02/03/15   Prepare vendor contract termination communication                                 0.80   $       260.00
      Michael Fuqua, CIRA   02/04/15   Follow up call w/BMC re: claim form revisions                                     0.20   $        65.00
      Michael Fuqua, CIRA   02/04/15   Status call w/Counsel re: vendor motion                                           0.30   $        97.50
      Michael Fuqua, CIRA   02/04/15   Claim form revision subject to BMC comments                                       0.40   $       130.00
      Michael Fuqua, CIRA   02/04/15   Continued work on claims form revisions                                           1.70   $       552.50
      Michael Fuqua, CIRA   02/06/15   Draft content for email blast                                                     0.60   $       195.00
      Michael Fuqua, CIRA   02/09/15   Investor call                                                                     0.10   $        32.50
      Michael Fuqua, CIRA   02/09/15   Communication w/BMC re: email blast                                               0.30   $        97.50
      Michael Fuqua, CIRA   02/10/15   Call w/JOdom re: vendor response to information requests                          0.40   $       130.00
      Michael Fuqua, CIRA   02/10/15   Review and comment on proposed motion                                             0.60   $       195.00
      Michael Fuqua, CIRA   02/13/15   Calls w/WBerger, CAllen, JOdom                                                    0.50   $       162.50
      Michael Fuqua, CIRA   02/18/15   Correspondence w/investor                                                         0.40   $       130.00
      Michael Fuqua, CIRA   02/19/15   Research requirements for 468B settlement fund                                    0.70   $       227.50
      Michael Fuqua, CIRA   02/26/15   Investor call                                                                     0.10   $        32.50
      Michael Fuqua, CIRA   02/26/15   Review TRO modification for allowed payment language                              0.30   $        97.50
      Michael Fuqua, CIRA   03/02/15   Call w/ BMC re: claims form modification                                          0.60   $       195.00
      Michael Fuqua, CIRA   03/04/15   Investor call                                                                     0.10   $        32.50
      Michael Fuqua, CIRA   03/16/15   Compare data from Vodaware to proposed claim form                                 0.40   $       130.00
      Michael Fuqua, CIRA   03/20/15   Review and comment on proposed vendor claim form                                  0.40   $       130.00
                                                                      Case Administration                               31.70   $    10,302.50

Forensic Accounting
      Michael Fuqua, CIRA   12/24/14   Email and calls w/K Perry re: shutdown of website                                 0.40   $       130.00
      Michael Fuqua, CIRA   01/05/15   Review bank records; email w/ JOdom                                               1.30   $       422.50
      Michael Fuqua, CIRA   01/06/15   Meeting with LC re: data analysis                                                 0.30   $        97.50
      Michael Fuqua, CIRA   01/08/15   Review QB information w/LC                                                        0.50   $       162.50
      Michael Fuqua, CIRA   01/12/15   Follow-up email to Propay GC re: data                                             0.20   $        65.00
      Michael Fuqua, CIRA   01/12/15   Call w/ Propay re: providing data to Receivership                                 0.30   $        97.50
      Michael Fuqua, CIRA   01/13/15   Call w/Propay counsel                                                             0.30   $        97.50
      Michael Fuqua, CIRA   01/13/15   Review QB investor names                                                          0.40   $       130.00
      Michael Fuqua, CIRA   01/14/15   Work with L Clemente re: cash tracking database                                   0.20   $        65.00
      Michael Fuqua, CIRA   01/14/15   Work w/LClemente re: downloading QB information                                   0.50   $       162.50
      Michael Fuqua, CIRA   01/14/15   Review QB files for onsite meeting w/DFarris & K MacDonald                        0.60   $       195.00

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Michael Fuqua, CIRA   01/14/15   Set up investor file from QB                                                      1.50   $       487.50
Michael Fuqua, CIRA   01/15/15   Onsite post meeting review of findings and next steps                             1.70   $       552.50
Michael Fuqua, CIRA   01/15/15   Onsite meeting w/counsel, DFarris, KMacdonald re: walk through Zhunrize           3.60   $     1,170.00
                                 software and server information
Michael Fuqua, CIRA   01/16/15   Work with L Clemente re: consolidation of bank account information                0.50   $       162.50
Michael Fuqua, CIRA   01/16/15   Begin data analysis of investor information and commission payments in QB         1.30   $       422.50
Michael Fuqua, CIRA   01/16/15   Begin data analysis of cash journal in QB                                         1.80   $       585.00
Michael Fuqua, CIRA   01/19/15   Meeting with LC regarding QB analysis                                             0.50   $       162.50
Michael Fuqua, CIRA   01/19/15   QuickBooks investor information analysis                                          1.80   $       585.00
Michael Fuqua, CIRA   01/20/15   Data review of SEC information requests                                           2.70   $       877.50
Michael Fuqua, CIRA   01/21/15   Review Beauty Resources invoices and notify them of receipt                       0.60   $       195.00
Michael Fuqua, CIRA   01/21/15   Attempt to reconcile QB vendor information to data from various spreadsheets      0.70   $       227.50
                                 provided to the SEC
Michael Fuqua, CIRA   01/22/15   Review financial documents submitted to SEC by KPerry                             1.30   $       422.50
Michael Fuqua, CIRA   01/22/15   Review documents submitted to SEC by DWax                                         2.10   $       682.50
Michael Fuqua, CIRA   01/26/15   Review of multiple bank information                                               1.60   $       520.00
Michael Fuqua, CIRA   01/27/15   Meeting w/LC re: bank statement data and analysis                                 0.40   $       130.00
Michael Fuqua, CIRA   01/29/15   Analysis of 2013 & 2014 income statements provided to SEC                         1.20   $       390.00
Michael Fuqua, CIRA   02/02/15   Analyze DOBA invoices                                                             0.60   $       195.00
Michael Fuqua, CIRA   02/02/15   Analyze DOBA payment history                                                      0.70   $       227.50
Michael Fuqua, CIRA   02/04/15   Call w/Braintree re: subpoena request                                             0.40   $       130.00
Michael Fuqua, CIRA   02/04/15   Meeting w/LC re: status update                                                    0.50   $       162.50
Michael Fuqua, CIRA   02/06/15   Scrub store owner email list for upload for email blast                           0.90   $       292.50
Michael Fuqua, CIRA   02/06/15   Document review for store owner schedules                                         1.50   $       487.50
Michael Fuqua, CIRA   02/09/15   Call w/ Propay re: transaction information                                        0.20   $        65.00
Michael Fuqua, CIRA   02/09/15   Meeting w/LC re: status update                                                    0.50   $       162.50
Michael Fuqua, CIRA   02/11/15   Working session w/LC; review recovered financial data; prepare questions for      1.50   $       487.50
                                 interview w/DWax
Michael Fuqua, CIRA   02/16/15   Review QB commission and refund files                                             0.70   $       227.50
Michael Fuqua, CIRA   02/17/15   Schedule review w/LC                                                              0.50   $       162.50
Michael Fuqua, CIRA   02/26/15   Meet w/LC re: status of sources and uses analysis                                 0.40   $       130.00
Michael Fuqua, CIRA   03/09/15   Meeting w/LClemente re: data analysis                                             0.40   $       130.00
Michael Fuqua, CIRA   03/10/15   Data analysis: reconciliation of data in multiple files                           2.10   $       682.50
Michael Fuqua, CIRA   03/11/15   Scope our data analysis methodology                                               0.40   $       130.00
Michael Fuqua, CIRA   03/12/15   Meeting w/LClemente re: data analysis                                             0.20   $        65.00
Michael Fuqua, CIRA   03/16/15   Meeting w/LClemente re: sources and uses analysis progress                        2.00   $       650.00
Michael Fuqua, CIRA   03/20/15   Analyze financial data for post TRO until receivership                            1.20   $       390.00
Michael Fuqua, CIRA   03/23/15   Analysis of Vodaware ownership transfer transaction                               1.80   $       585.00
Michael Fuqua, CIRA   03/25/15   Calls to Amex                                                                     0.20   $        65.00
Michael Fuqua, CIRA   03/25/15   Meet w/LClemente re: status of sources and uses of funds                          0.40   $       130.00
Michael Fuqua, CIRA   03/27/15   Work w/LClemente re: sources and uses                                             0.60   $       195.00
Michael Fuqua, CIRA   03/30/15   Meet w/LClemente re: data analysis                                                0.30   $        97.50
                                                             Total Forensic Accounting                            46.30   $    15,047.50

                                                                      Total                                      127.90   $    41,567.50




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